














IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. WR-62,593-01 and WR-62,593-02






EX PARTE BERNARDO ABAN TERCERO








ON APPLICATION FOR WRIT OF HABEAS CORPUS IN CAUSE


NO. 762351-A IN THE 232ND JUDICIAL DISTRICT COURT


HARRIS COUNTY




	Per Curiam.  



O R D E R



	This is a post conviction application for writ of habeas corpus filed pursuant to the
provisions of Texas Code of Criminal Procedure article 11.071.

	On October 16, 2000, a jury convicted applicant of the offense of capital murder.  The
jury answered the special issues submitted pursuant to Texas Code of Criminal Procedure
article 37.071, and the trial court, accordingly, set punishment at death.  This Court affirmed
applicant's conviction and sentence on direct appeal.  Tercero v. State, No. AP-73,992 (Tex.
Crim. App. Sept. 18, 2002)(not designated for publication).

	Applicant presents five allegations in his application in which he challenges the
validity of his conviction and resulting sentence.  Although an evidentiary hearing was not
held, the trial judge entered findings of fact and conclusions of law.  The trial court
recommended that relief be denied. 

	This Court has reviewed the record with respect to the allegations made by applicant. 
We adopt the trial judge's findings and conclusions.  Based upon the trial court's findings
and conclusions and our own review, the relief sought is denied.

	This Court has also reviewed a document entitled "Applicant's Motion to Amend
Petition for State[']s Habeas Corpus."  Because this document was filed after the deadline
provided for an initial application for habeas corpus, we find it to be a subsequent
application.  See Art. 11.071.  We further find that the document fails to meet one of the
exceptions provided for in Section 5 of Article 11.071 and, thus we dismiss this subsequent
application as an abuse of the writ. 

	IT IS SO ORDERED THIS THE 16TH DAY OF NOVEMBER, 2005.


Do Not Publish


